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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                                 ENTERED
                                                                                                  02/23/2018
IN RE:                                            §                            CASE NO. 18-30002
                                                  §
RAY L. SHACKELFORD,                               §                                  (CHAPTER 13)
                                                  §
         Debtor.                                  §

         ORDER GRANTING IN REM RELIEF FROM THE AUTOMATIC STAY
                            (Relates to Doc. # 17)

         CAME ON FOR CONSIDERATION the Expedited Motion For In Rem Relief From The

Automatic Stay (the “Motion”) filed by Icon Bank of Texas, N.A., a party-in-interest in the

above-captioned proceeding. The Court finds that notice of the motion was properly given in

accordance with Fed. R. Bankr. P. 4001(a)(1) and Local Rule 4001-1(a)(4), and that expedited

consideration of the Motion is warranted for the reasons stated in the Motion.

         The Court finds that cause exists to terminate and annul the automatic stay imposed by 11

U.S.C. § 362(a) for the reasons set forth in the Motion; and finds that the co-Debtor stay does not

apply because Shackelford & Associates, LLC is not a an “individual” and the debt at issue os

not a “consumer debt.” The Court further finds that the filing of the Debtor’s voluntary petition

for relief under Chapter 13 of Title 11 of the United States Code was part of a scheme to delay,

hinder, or defraud creditors that involved the transfer of all or part ownership of, or other interest

in, the Property (hereinafter defined) without the consent of the secured creditor. The Court is

therefore of the opinion that the motion should be granted.

         IT IS, THEREFORE,

         ORDERED, ADJUDGED, AND DECREED that Icon Bank Of Texas, N.A.’s Motion

is GRANTED under 11 U.S.C. § 362(d)(1), (2) and (4). It is further
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        ORDERED, ADJUDGED, AND DECREED that the automatic stay under 11 U.S.C. §

362(a) be, and hereby is, TERMINATED and ANNULLED as to the Debtor’s interest in the

following real property:

        Lot Two (2) in Block One (1), of Ivanhoe Park Villas, a subdivision in Harris
        County, Texas, according to the map or plat thereof, recorded under Film Code
        No. 605208, of the Map Records of Harris County, Texas (the “Property”).

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Icon Bank Of

Texas, N.A. and its agents and attorneys, and any trustees or substitute trustees appointed under

the Deed of Trust described in the Motion, may take any action necessary to proceed with a non-

judicial foreclosure sale, including service, posting, and filing of any notices required under

Texas law. It is further,

        ORDERED, ADJUDGED, AND DECREED that, under 11 U.S.C. § 362(d)(4), and

provided that this order is recorded in conformity therewith, this Order terminating the automatic

stay under 11 U.S.C. § 362(a) shall be binding in rem as to the Property in any other case filed

under the Bankruptcy Code purporting to affect the Property that is filed not later than two years

after the date of this Order, such that the automatic stay under 11 U.S.C. § 362(a) shall not

operate as a stay as to any act of Icon Bank Of Texas, N.A. (including its successors and assigns)

to enforce its rights, title, and interest in, against, and to the Property.

        IT IS FURTHER ORDERED, that this this Order shall be binding and effective despite

any dismissal or conversion of this bankruptcy case to a case under any other chapter of Title 11

of the United States Code.

Signed on ______________________.
    Signed: February 22, 2018.
                                                 HONORABLE   DAVID R. JONES
                                                   ____________________________________
                                                 UNITED
                                                   DAVIDSTATES  BANKRUPTCY JUDGE
                                                         R. JONES
                                                    UNITED STATES BANKRUPTCY JUDGE
